Case 3:18-cv-01554-EMC Document 96-119 Filed 08/23/18 Page 1 of 3




  EXHIBIT 119
                 Case 3:18-cv-01554-EMC Document 96-119 Filed 08/23/18 Page 2 of 3

From:               Wolf, Chad
Sent:               Monday,November 6, 2017 8:43 PM
To:                 Bossert, Thomas P. EOP/WHO
Cc:
Subject:            RE: Additional Info - TPS


Agree. We have a some solid folks at the Department making sound and defensible decisions.

Thanks, Tom.



From: Bossert, Thomas P. EOP/WHO
Sent: Tuesday, November 07, 2017 1:37:55 AM
To: Wolf, Chad
Cc: S2ECD
Subject: Re: Additional Info - TPS

You should give Jonathan an atta-boy. He is a good one.

The key now will be explaining the picture you've been painting - which signals a move to conditions-based(not politically-based)
terminations or extensions of TPS and the clear need for statutory reform ofour immigration system.

Onward.

-Tom

Sent from my iPhone

On Nov 6,2017,at 8:27 PM,Wolf,Chad                                                                   wrote:

Just concluded the press call. They were extremely tame this evening.



From: Bossert, Thomas P. EOP/WHO
Sent: Tuesday, November 07,2017 1:24:00 AM
To: Wolf, Chad
Cc: S2ECD
Subject: Re: Additional Info - TPS

Thank you for all the time and effort today, and for the 12 month outcome.

-Tom

Sent from my iPhone

On Nov 6,2017, at 3:47 PM, Wolf, Chad
wrote:

Torn,
Acting Secretary Duke wanted the following passed along:


Nicaragua:

Terminate TPS for Nicaragua. The advice and reporting I received on Nicaragua was unanimous. The effective termination date is 18
months from today. That will allow time for the affected persons and families to fmd other paths to stay in the United States or return
to Nicaragua. Like we have discussed before, the best resolution is for Congress to act for the TPS recipients to provide an




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                  Case 3:18-cv-01554-EMC Document 96-119 Filed 08/23/18 Page 3 of 3
 appropriate path. We will be working with Congress on this and the immigration priorities.



 Honduras:

Extension of6 month under a "No Determination" decision for Honduras. Much of the documentation I received within the last 5
days is conflicting and I have not had sufficient time to de-conflict it. The Dept. of State reports says the country conditions do not
exist, but it also states that that Honduras is unable at this time to adequately hand the return of their 86,000+ nationals. It also lists
key concerns related to Honduras under the discretionary factors section of the report. Additionally,I received multiple intelligence
reports late last week that indicate a TPS termination for Honduras could have strong consequences for other immigration, TCO,and
drug reduction priorities. I want to understand this better so I can adequately determine the appropriate plan and path for termination.
Also, given our partnership on the stated key Administration priorities, I think it is important to develop and execute the plan with the
partner country, to the maximum extent possible. I intend to immediately engage Honduras to begin the discussion and planning
process. This decision is a strong break with past practice and sends a strong message that this Administration will no longer
routinely end TPS with little for the statute. By not affirmatively extending, I'm stating that I'm not satisfied that the country
conditions remain - but not yet sure how to best end TPS for this country.



 Chad F. Wolf
(Acting) Chief of Staff
 Department of Homeland Security



 Confidential Assistant
 Connor Gauvin




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